 This document was signed electronically on July 24, 2019, which may be different from its
 entry on the record.


 IT IS SO ORDERED.

 Dated: July 24, 2019




                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                                    )    Chapter 11
 In re:                                                             )
                                                                    )    Case No. 18-50757
                                                       1
 FIRSTENERGY SOLUTIONS CORP., et al.,                               )    (Jointly Administered)
                                                                    )
                                    Debtors.                        )
                                                                    )    Hon. Judge Alan M. Koschik
                                                                    )


          ORDER GRANTING A FIFTH EXTENSION OF THE EXCLUSIVE PERIODS
          TO FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF
               PURSUANT TO SECTION 1121 OF THE BANKRUPTCY CODE

           Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for the entry of an order (this “Order”) extending the

 Filing Exclusive Period, through and including September 30, 2019, and the Soliciting Exclusive


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
 Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
 FirstEnergy Solutions Corp. (0186), and Norton Energy Storage L.L.C. (6928), case no. 18-50764. The Debtors’
 address is: 341 White Pond Dr., Akron, OH 44320.
 2
   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.




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 Period, through and including November 30, 2019, all as more fully set forth in the Motion and

 the Moore Declaration; and the Court having found that the Court has jurisdiction over this

 matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that the Motion is a

 core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this

 proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

 the Court having found that the Debtors provided appropriate notice of the Motion and the

 opportunity for a hearing on the Motion under the circumstances; and the Court having reviewed

 the Motion and having heard the statements in support of the relief requested therein at a hearing,

 if any, before the Court (the “Hearing”); and the Court having determined that the legal and

 factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

 herein, it is HEREBY ORDERED THAT:

        1.      The Motion is granted to the extent set forth herein.

        2.      Pursuant to section 1121(d) of the Bankruptcy Code, the Filing Exclusive Period

 is hereby extended through and including September 30, 2019.

        3.      Pursuant to section 1121(d) of the Bankruptcy Code, the Solicitation Exclusive

 Period is hereby extended through and including November 30, 2019.

        4.      Nothing herein shall prejudice the Debtors’ rights to seek further extensions of the

 Exclusive Periods consistent with section 1121(d) of the Bankruptcy Code.

        5.      Notice of the Motion as provided therein shall be deemed good and sufficient and

 the requirements of the Bankruptcy Rules are satisfied by such notice.

        6.      All time periods set forth in this Order shall be calculated in accordance with

 Bankruptcy Rule 9006(a).




                                                  2


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        7.      The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

        8.      The Court retains jurisdiction with respect to all matters arising from or related to

 interpretation, implementation or enforcement of this Order.

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